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                 UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

VOTEAMERICA; VOTER
PARTICIPATION CENTER; and
CENTER FOR VOTER
INFORMATION,
                     Plaintiffs,               Case No. 1:21-cv-01390-JPB
v.                                                  Judge J.P. Boulee

BRAD RAFFENSPERGER, in his
official capacity as Secretary of State
of the State of Georgia; SARA
GHAZAL, JANICE JOHNSTON,
EDWARD LINDSEY, and
MATTHEW MASHBURN, in their
official capacities as members of the
STATE ELECTION BOARD,
Defendants,

and

REPUBLICAN NATIONAL
COMMITTEE; NATIONAL
REPUBLICAN SENATORIAL
COMMITTEE; NATIONAL
REPUBLICAN CONGRESSIONAL
COMMITTEE; and GEORGIA
REPUBLICAN PARTY, INC.,
           Intervenor-Defendants.

                   RULE 5.4 CERTIFICATE OF SERVICE

      Pursuant to Local Rule 5.4, counsel for Plaintiffs hereby certify that they

served true and correct copies of the following via email on counsel for Defendants


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and Intervenor-Defendants in this matter:

        1.   On August 15, 2022, Plaintiffs served Plaintiffs’ Notice of Subpoena

and Subpoena for Documents and Deposition of Brandon Waters to take place on

August 22, 2022; and

        2.   On August 30, 2022, Plaintiffs served Plaintiffs’ Notice to Take the

Deposition of Blake Evans on September 9, 2022.

        3.   On September 7, 2022, Plaintiffs served Plaintiffs’ Notice to Take

Rule 30(b)(6) Deposition of Defendant-Intervenor Republican National Committee

on September 30, 2022.

        4.   On September 7, 2022, Plaintiffs served Plaintiffs’ Notice to Take

Rule 30(b)(6) Deposition of Defendant-Intervenor Georgia GOP on September 30,

2022.

        5.   On September 8, 2022, Plaintiffs served Plaintiffs’ Notice to Take

Rule 30(b)(6) Deposition of Defendant the Georgia State Election Board on

September 12, 2022.

        6.   On September 8, 2022, Plaintiffs served Plaintiffs’ Notice to Take

Rule 30(b)(6) Deposition of Defendants Secretary of State of Georgia on

September 13, 2022.

        7.   On September 9, 2022, Plaintiffs served Plaintiffs’ Notice to Take


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Deposition of Dr. Justin Ryan Grimmer on September 20, 2022.

      8.    On September 9, 2022, Plaintiffs served Plaintiffs’ Notice to Take

Deposition of Frances Watson on September 19, 2022.



Respectfully submitted this 30th day of September, 2022.

/s/ Hayden Johnson                          /s/ Robert B. Remar

Danielle Lang*                              Robert B. Remar (Ga. Bar No. 600575)
Jonathan Diaz*                              Katherine L. D’Ambrosio (Ga. Bar No.
Alice Huling*                               780128)
Hayden Johnson*                             SMITH, GAMBRELL, & RUSSELL, LLP
Valencia Richardson*                        1105 W. Peachtree NE, Suite 1000
CAMPAIGN LEGAL CENTER                       Atlanta, GA 30309
1101 14th St. NW, Ste. 400                  (404) 815-3500
Washington, D.C. 20005                      rremar@sgrlaw.com
Tel: (202) 736-2200                         kdambrosio@sgrlaw.com
Fax: (202) 736-2222
dlang@campaignlegalcenter.org
jdiaz@campaignlegalcenter.org
ahuling@campaignlegalcenter.org
hjohnson@campaignlegalcenter.org
vrichardson@campaignlegalcenter.org

*Admitted pro hac vice

Counsel for Plaintiffs




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       CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      I hereby certify that I have this date electronically filed the within and

foregoing, which has been prepared using 14-point Times New Roman font, with

the Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing to all attorneys of record.

      Dated: September 30, 2022.

                                       /s/ Hayden Johnson
                                       Hayden Johnson

                                       Counsel for Plaintiffs




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